                                                                  Case 2:19-cv-01719-DJH Document 36 Filed 12/06/19 Page 1 of 3




                                                            1   Gregory W. Seibt (021321)
                                                                Alexandra Mijares Nash (023364)
                                                            2   Robert S. Reder (024117)
                                                                Kiri T. Semerdjian (033775)
                                                            3   BLYTHE GRACE PLLC
                                                                4040 East Camelback Road, Suite 275
                                                            4   Phoenix, Arizona 85018
                                                                Telephone: (602) 237-5366
                                                            5   Facsimile: (602) 237-5546
                                                                Email: greg@blythegrace.com
                                                            6   Email: anash@blythegrace.com
                                                                Email: robert@blythegrace.com
                                                            7   Email: kiri@blythegrace.com
                                                                Attorneys for Defendant
                                                            8

                                                            9                             UNITED STATES DISTRICT COURT
                                                           10                                     DISTRICT OF ARIZONA
                                                           11
                                                                 Daniel Fellner,                               No. 2:19-cv-01719-DJH
                    4040 East Camelback Road | Suite 275
BLYTHE GRACE PLLC




                                                           12
                                                                                          Plaintiff,
                          Phoenix, Arizona 85018




                                                           13                                                  JOINT REPORT
                                                                 v.                                            REGARDING SETTLEMENT
                                                           14                                                  DISCUSSIONS
                                                                 Travel 4 All Seasons, LLC,
                                                           15
                                                                                          Defendant.
                                                           16

                                                           17          Pursuant to the Court’s Scheduling Order [Dkt. 27], ¶ 8, the parties certify that they
                                                           18   have engaged in good faith settlement discussions by telephone and email but were unable
                                                           19   to resolve this matter.
                                                           20          DATED this 6th day of December 2019.
                                                           21                                             BLYTHE GRACE PLLC
                                                           22                                             /s/ Robert S. Reder
                                                                                                          Gregory W. Seibt
                                                           23                                             Alexandra Mijares Nash
                                                                                                          Robert S. Reder
                                                           24                                             Kiri T. Semerdjian
                                                                                                          4040 East Camelback Road, Suite 275
                                                           25                                             Phoenix, Arizona 85018
                                                                                                          Attorneys for Defendant
                                                           26
                                                           27

                                                           28
                                                                Case 2:19-cv-01719-DJH Document 36 Filed 12/06/19 Page 2 of 3



                                                                                                 LIEBOWITZ LAW FIRM, PLLC
                                                            1
                                                                                                 /s/ Richard P. Liebowitz
                                                            2                                    Richard P. Liebowitz
                                                                                                 11 Sunrise Plaza, Suite 305
                                                            3                                    Valley Stream, New York 11580
                                                                                                 Attorney for Plaintiff
                                                            4

                                                            5

                                                            6

                                                            7

                                                            8

                                                            9

                                                           10

                                                           11
                    4040 East Camelback Road | Suite 275
BLYTHE GRACE PLLC




                                                           12
                          Phoenix, Arizona 85018




                                                           13

                                                           14

                                                           15

                                                           16

                                                           17

                                                           18
                                                           19

                                                           20

                                                           21

                                                           22

                                                           23

                                                           24

                                                           25

                                                           26
                                                           27

                                                           28

                                                                                                2
                                                                  Case 2:19-cv-01719-DJH Document 36 Filed 12/06/19 Page 3 of 3



                                                                                                 Certificate of Service
                                                            1
                                                                      I certify that on this 6th day of December 2019, I electronically transmitted the
                                                            2
                                                                attached document to the Clerk’s Office using the CM/ECF system for filing and
                                                            3
                                                                transmittal of a Notice of Electronic Filing to the following CM/ECF registrants:
                                                            4
                                                              Richard Liebowitz
                                                            5 Liebowitz Law Firm, PLLC
                                                              11 Sunrise Plaza, Suite 305
                                                            6 Valley Stream, New York 11580
                                                              Attorney for Plaintiff
                                                            7

                                                            8   /s/ Erika M. Weiler
                                                            9

                                                           10

                                                           11
                    4040 East Camelback Road | Suite 275
BLYTHE GRACE PLLC




                                                           12
                          Phoenix, Arizona 85018




                                                           13

                                                           14

                                                           15

                                                           16

                                                           17

                                                           18
                                                           19

                                                           20

                                                           21

                                                           22

                                                           23

                                                           24

                                                           25

                                                           26
                                                           27

                                                           28

                                                                                                        3
